                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

 BURRELL A. McGHEE                                         )
                                                           )
                Plaintiff,                                 )     Case No. 7:13-CV-123
                                                           )
 v.                                                        )
                                                           )
 CHARLES A. ROBERSON, M.D., et al.                         )
                                                           )
                Defendant(s).                              )

      LOCUMTENENS.COM, LLC'S AND CHARLES A. ROBERSON, M.D.'S PARTIAL
         MOTION TO DISMISS PURSUANT TO RULE 12(b)(6) AND RULE 12(c)


         LocumTenens.com, LLC and Charles A. Roberson, M.D., by counsel, and pursuant to

 Rule 12(b)(6) and Rule 12(c) of the Federal Rules of Civil Procedure, move to dismiss any

 punitive damage claim from the Complaint because the Plaintiff fails to plead facts to support a

 punitive damage claim as a matter of law. A memorandum stating the facts and legal authority

 supporting this request accompanies this motion.


                                              CHARLES A. ROBERSON, M.D.
                                              and
                                              LOCUMTENENS.COM, LLC

                                              By Counsel

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                                           CERTIFICATE

          I hereby certify that on the 10th day of July, 2013, I presented the forgoing to the Clerk of
 the Court for filing and uploading to the CM/ECF system which will send notification of such
 filing to the following:

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